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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

                               Case Number: 20-22935-CIV-MORENO

   WINDY LUCIUS,

                  Plaintiff,
   vs.

   MOD SUPER FAST PIZZA, LLC,

                  Defendant.
  _________________________________________/

                         FINAL ORDER OF DISMISSAL AND
                  ORDER DENYING ALL PENDING MOTIONS AS MOOT

         THIS CAUSE came before the Court upon Notice of Settlement (D.E. 9), filed on

  September 8, 2020. It is

         ADJUDGED that in light of the parties settling this action, this case is DISMISSED in

  accordance with the settlement agreement. The Court shall retain jurisdiction for six months to

  enforce the terms of the settlement agreement. It is also

         ADJUDGED that all pending motions are DENIED as moot.



         DONE AND ORDERED in Chambers at Miami, Florida, this 17th of September 2020.




                                        ______________________________________
                                              FEDERICO A. MORENO
                                              UNITED STATES DISTRICT JUDGE
  Copies furnished to:

  Counsel of Record
